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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 13-cv-20861-JLK


 KADIA BINNS

       Plaintiff,

 v.

 REGIONAL           ADJUSTMENT       BUREAU,
 INC.

       Defendant.


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to FEDERAL RULE       OF   CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff KADIA

 BINNS (hereinafter as “Plaintiff”), hereby takes a VOLUNTARY DISMISSAL WITH

 PREJUDICE in the above-styled and numbered action for all claims that were asserted in this

 action by Plaintiff Kadia Binns against Defendant, REGIONAL ADJUSTMENT BUREAU,

 INC. (hereinafter as “Defendant”).

        This dismissal is WITH PREJUDICE to the future assertion of any of the above-

 referenced claims against this Defendant. The Defendant in this action has not filed an answer or

 a motion for summary judgment.

        Although Plaintiff acknowledges and recognizes the effectiveness of this dismissal with

 prejudice immediately and without further action of the Court pursuant to FEDERAL RULE        OF

 CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff also respectfully requests entry of an Order of

 Dismissal With Prejudice submitted herewith.
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        DATED:         May 9, 2013.

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                                                    By: /s/ Matthew J. Militzok
                                                    MATTHEW J. MILITZOK, ESQ
                                                    Fla. Bar No.: 0153842



                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2013, I electronically filed the foregoing document with
 the Clerk of the Court using CM / ECF. I also hereby certify that a true and correct copy of the
 foregoing has been sent to Alan St. Louis, Esq., Cole, Scott & Kissane, P.A., 1645 Palm Beach
 Lakes Blvd., 2nd Floor, West Palm Beach, FL 33401, either via transmission of Notices of
 Electronic Filing generated by CM / ECF or other authorized manner if not authorized to receive
 Notices of Electronic Filing.




                                                    By: /s/ Matthew J. Militzok
                                                        MATTHEW J. MILITZOK, ESQ.
